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          COCKBURN
           EXHIBIT 1
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           12
                                                UNITED STATES DISTRICT COURT
           13                                  NORTHERN DISTRICT OF CALIFORNIA
                                                      SAN JOSE DIVISION
           14

           15
                   APPLE INC., a California corporation,            Civil Action No. 12-CV-00630-LHK (PSG)
           16
                                Plaintiff,
                          v.                                        EXPERT REPORT OF PROFESSOR
           17                                                       ANDREW COCKBURN
                   SAMSUNG ELECTRONICS CO., LTD., a
           18      Korean corporation; SAMSUNG
                   ELECTRONICS AMERICA, INC., a New
           19      York corporation; and SAMSUNG
                   TELECOMMUNICATIONS AMERICA, LLC,
           20      a Delaware limited liability company,            HIGHLY CONFIDENTIAL –
                                                                    ATTORNEYS’ EYES ONLY
           21                    Defendants.
           22
                   SAMSUNG ELECTRONICS CO., LTD., a
           23      Korean corporation; SAMSUNG
                   ELECTRONICS AMERICA, INC., a New
           24      York corporation, and SAMSUNG
                   TELECOMMUNICATIONS AMERICA, LLC,
           25      a Delaware limited liability company,
                                 Counterclaim-Plaintiffs,
           26             v.
           27
                   APPLE INC., a California corporation,
           28
                                 Counterclaim-Defendant.
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               1                                               I.      Introduction

               2           1.     I have been retained as an independent technical expert on behalf of Apple, Inc.

               3   (“Apple”), in the matter of Samsung Electronics, Co. (“Samsung”). I have been asked to give my

               4   opinion about whether certain Samsung products infringe U.S. Patent Numbers 8,046,721 (the “’721

               5   Patent”), 8,074,172 (the “’172 Patent”), and 8,014,760 (the “’760 Patent”) (collectively, the

               6   “Asserted Patents”). Specifically, I have been asked to compare the asserted claims of the Asserted

               7   Patents to various accused Samsung products and form an independent opinion regarding whether or

               8   not the accused products infringe any of those claims. I have also been asked to provide an opinion

               9   as to whether the Apple-iOS products use the technology of the Asserted Patents. My opinions are set

           10      forth below in this report.

           11              2.     In forming the opinions in this report, counsel for Apple advised me on the applicable

           12      legal standards and I have applied these standards. I have also relied on my own knowledge,

           13      education, and experience. My opinions are based on technical evaluations of materials described in

           14      this report, the information available to me to date, my education and hands-on experience over the

           15      past 20 or so years.

           16                                            II.        Executive Summary

           17              3.     The Asserted Patents are all directed to various aspects of the user interface of a

           18      device, such as a smartphone or other mobile device, with a touchscreen. From an elegant

           19      mechanism to avoid inadvertent use or activation of the device, to a word recommendation feature

           20      that speeds and simplifies typing on a glass surface, to a useful gesture-based interface that helps

           21      manage and utilize information obtained through received calls, the technology behind the Asserted

           22      Patents are part of what make products like the iPhone and iPad powerful, fun, and easy to use. As I

           23      will discuss in detail, Samsung has adopted each of these features in numerous of its own smartphone

           24      and tablet devices, and thus infringes each of the asserted claims of these patents.

           25      A.      U.S. Patent No. 8,046,721

           26              4.     The ’721 Patent describes a user-friendly interface that prevents accidental activation

           27      of a touch-screen mobile device while also permitting a user to easily and efficiently unlock the

           28      device, in an intuitive manner, with a gesture on the touch-screen. Because portable touchscreen

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               1   devices respond to touch gestures, it is possible that the simple act of inserting or removing the

               2   device to or from a pocket or purse may inadvertently trigger a function or feature of the device. As

               3   a result, it is important to be able to “lock” the touchscreen to prevent it from accepting certain inputs

               4   so that functions, such as dialing a call, are not accidentally activated. However, to avoid user

               5   frustration, it must also be easy to “unlock” the device, but not so easy that the device is likely to

               6   inadvertently be unlocked by unintended gestures.

               7          5.      The ’721 Patent provides just this balance between ease of use and protection against

               8   accidental activation of the device. Specifically, asserted Claim 8 describes a user interface that 1)

               9   displays an unlock image at a predefined location on the interface, 2) continuously moves the unlock

           10      image on the screen in accordance with the user’s finger movement on the screen, 3) contains visual

           11      cues to direct the user where to move the unlock image to unlock the device, and 4) unlocks the

           12      device when the user moves the unlock image to a predefined unlock region on the screen.

           13             6.      The Samsung devices accused of infringing the ’721 Patent all include user interfaces

           14      that satisfy every element of Claim 8. That Samsung’s devices infringe appears, from my review of

           15      information produced during this lawsuit, to be a direct consequence of Samsung’s efforts to copy the

           16      slide-to-unlock mechanism on Apple’s iPhone and iPad devices, which also practice Claim 8 of the

           17      ’721 Patent. Samsung’s own documents indicate that it chose the slide-to-unlock mechanisms to

           18      solve the same problems that the ’721 Patent sought to achieve—preventing accidental activation of a

           19      touch-screen device while providing appropriate visual cues to direct the user regarding how to

           20      unlock the device.

           21             7.      Apple accuses the following Samsung devices of infringing Claim 8 of the ’721

           22      Patent: Admire, Captivate Glide, Conquer 4G, Dart, Exhibit II 4G, Galaxy Nexus, Galaxy SII,

           23      Galaxy SII Epic 4G Touch, Galaxy SII Skyrocket, Illusion, Stratosphere, and Transform Ultra. For

           24      some of these products, Apple accuses only certain releases of infringement. The specifics of which

           25      releases for a given product are accused are detailed in the infringement section of this report.

           26             8.      I have attached detailed claim charts for each of the accused devices demonstrating

           27      how such products all infringe Claim 8 of the ’721 patent. For example, Claim 8 (which also

           28      includes the claim limitations of claim 7 of the ’721 Patent), requires the display of an unlock image

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               1   character string and a suggested replacement word or words (“suggested replacement character

               2   strings”) in a second area of the display separate from the first; 3) replaces the current character string

               3   displayed in the first area with a suggested replacement character string if the user selects a delimiter

               4   (such as a comma or a space); 4) provides an alternative method of replacing the current character

               5   string displayed in the first area with a suggested replacement character string if the user gestures

               6   (e.g., by tapping) on the suggested replacement character string displayed in the second area; and 5)

               7   instead keeps the current character string displayed in the first area (e.g., if the user believes they

               8   have correctly spelled the word) if the user gestures on the current character string displayed in the

               9   second area.

           10             17.     Apple accuses the following Samsung devices of infringing Claim 18 of the ’172

           11      Patent: Admire, Captivate Glide, Conquer 4G, Exhibit II 4G, Galaxy Nexus, Galaxy Note, Galaxy

           12      SII, Galaxy SII Epic 4G Touch, Galaxy SII Skyrocket, Stratosphere, and Transform Ultra. For some

           13      of these products, Apple accuses only certain releases of infringement. The specifics of which

           14      releases for a given product are accused are detailed in the infringement section of this report.

           15             18.     Through my analysis of the devices accused of infringing the ’172 Patent, Samsung

           16      and Google documents, source code, and other materials, it is my opinion that the devices accused of

           17      infringing the ’172 Patent infringe Claim 18 of the ’172 Patent in exactly the same way, across

           18      carriers and operating systems. See Section IX.B; Exhibits 4-1 to 4-11. Although some of the

           19      accused devices have been released for multiple wireless carriers, such as AT&T and T-Mobile, an

           20      accused device’s infringement of Claim 18 of the ’172 Patent is identical across carrier versions of

           21      that device. See id. Indeed, each accused device operates identically across carriers in all material

           22      respects for purposes of infringement. See id. In addition, Samsung has released multiple software

           23      versions for most of the accused devices, including in some cases multiple revisions of the Android

           24      OS platform. However, based on my analysis, the infringement by an accused device is identical

           25      across all accused releases of that device. See id. That is, there is no difference, for purposes of

           26      demonstrating that an accused device infringes Claim 18 of the ’172 Patent, between the accused

           27      releases of the Gingerbread, Ice Cream Sandwich, and Jelly Bean Android operating systems

           28      available for that device. Additionally, for each Android operating system, there may be sub-versions

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               1   denoted by a third dot. For example, Android Ice Cream Sandwich 4.0 may have a 4.0.1 sub-version

               2   and a 4.0.2 sub-version. Based on my analysis, there are no material differences between those

               3   Android versions for purposes of demonstrating infringement of the ’172 Patent; each accused device

               4   operates identically across Android versions and sub-versions in all material respects for purposes of

               5   infringement of the ’172 Patent. See id.

               6          19.     I have also attached detailed claim charts for each of the devices accused of infringing

               7   the ’172 Patent demonstrating how such products all infringe Claim 18 of the ’172 Patent in the same

               8   way. For example, if the user types “messaf” (the current character string) in the Messaging

               9   application found on each of these devices, “messaf” appears in the portion of display showing the

           10      entirety of the text message the user is composing (the “first area”). All of the accused devices also

           11      display the current character string in a suggestion bar, which is located between the first area and the

           12      keyboard (the “second area”). The suggestion bar contains both the current character string and

           13      suggested replacement words for the current character string. Using our example, if the user typed

           14      “messaf”, the second area would display “messaf”, as well as suggestions for replacements for

           15      “messaf”, such as “message” or “messages”. Next, in every accused device, when the user selects a

           16      delimiter, the current character string in the first area is replaced by one of the suggestions in the

           17      second area. Continuing the example, if the user selects spacebar after typing “messaf”, “message”,

           18      one of the suggestions displayed in the second area, would replace “messaf” displayed in the first

           19      area. Alternatively, if the user instead taps on “message” displayed in the second area, “message”

           20      would replace “messaf” in the first area. Finally, in all of the accused devices, if the user taps on

           21      “messaf” displayed in the second area, “messaf” is kept in the first area.

           22             20.     Moreover, because all of the devices accused of infringing Claim 18 of the ’172 Patent

           23      are identical for all relevant purposes with regard to an infringement analysis, I provide a detailed

           24      analysis for only three exemplary devices below. My analysis below, however, applies to every

           25      device accused of infringing Claim 18 of the ’172 Patent. In addition, any of the three exemplary

           26      devices I discuss below is equally representative of all other accused devices.

           27             21.     While I discuss in detail how the accused devices infringe Claim 18 of the ’172 Patent,

           28      Samsung has identified a number of non-infringement arguments to assert that its products do not

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               1   infringe. Again, as with the ’721 Patent, I simply do not agree. For example, one of Samsung’s non-

               2   infringement arguments relies on interpreting Claim 18 to require particular constraints on how the

               3   displayed character strings are implemented in program code and in computer memory. Nothing,

               4   however, in the language of Claim 18 or specification of the ’172 Patent supports this argument.

               5   Samsung also argues that its devices do not infringe Claim 18 of the ’172 Patent because they do not

               6   include a keyboard that is separate from the touch screen. This argument is directly contradicted by

               7   the specification of the ’172 Patent, which specifically describes implementing these user interfaces

               8   on virtual keyboards displayed on a touch screen. In short, there is no real dispute that the Samsung

               9   devices accused of infringing Claim 18 of the ’172 Patent contain user interfaces that meet every

           10      limitation of Claim 18.

           11              22.    As a result, it is my opinion that every device accused of infringing Claim 18 of the

           12      ’172 Patent infringes this claim in the same way for all relevant purposes, regardless of product,

           13      carrier, or software version.

           14              23.    It is also my opinion that Apple practices the ’172 Patent. For example, when the user

           15      makes a typo while typing in an Apple iOS device, a suggested replacement for that typo is displayed

           16      just above or below the typo. If the user selects a delimiter, the suggested replacement replaces the

           17      typo. This user interface satisfies at least Claim 27 of the ’172 Patent.

           18      C.      U.S. Patent No. 8,014,760

           19              24.    Finally, the ’760 Patent and its claims generally describe a user interface that allows

           20      users to easily manage missed calls on a smartphone. Because a user may be occupied and miss a

           21      call from a person for whom the user already has information such as phone numbers, email

           22      addresses, or other contact information, the user might like a convenient way to return the missed call

           23      by calling the person back (at the same or a different phone number), sending a text message or

           24      email, or through some other communication means.

           25              25.    The ’760 Patent provides for an easy-to-use interface to allow just such actions when a

           26      user misses a call. In particular, asserted Claim 10 allows users to: 1) initiate a return phone call

           27      associated with a missed telephone number by simply gesturing on one portion of the display; or 2)

           28      view and access a missed caller’s contact information by gesturing on another part of the display.

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               1          375.    Fourth, by including the current character string in the second area, the user can

               2   gesture to specify that the actual characters input should be kept. This is important when the user

               3   intends to keep a word that is not known in the dictionary.

               4          2.      Asserted Claim 18

               5          376.    I understand that Apple is asserting Claim 18 of the ’172 Patent against a number of

               6   Samsung devices. Dkt. 1; Dkt. 645.

               7          377.    Claim 18 of the ’172 Patent claims:

               8                18.     A graphical user interface on a portable electronic device with a
                          keyboard and a touch screen display, comprising
               9
                                  a first area of the touch screen display that displays a current character string being
           10
                                  input by a user with the keyboard; and
           11
                                  a second area of the touch screen display separate from the first area that displays the
           12                     current character string or a portion thereof and a suggested replacement character
                                  string for the current character string;
           13

           14                             wherein;

           15                             the current character string in the first area is replaced with the suggested
                                          replacement character string if the user activates a key on the keyboard
           16                             associated with a delimiter;
           17                             the current character string in the first area is replaced with the suggested
           18                             replacement character string if the user performs a gesture on the suggested
                                          replacement character string in the second area; and
           19
                                          the current character string in the first area is kept if the user performs a
           20                             gesture in the second area on the current character string or portion thereof
                                          displayed in the second area.
           21

           22             378.    The claim language above, in my opinion, clearly refers to what the user sees on the
           23      display of the portable electronic device. For example, the preamble of the claim describes a
           24      “graphical user interface”. This graphical user interface includes a “first area of the touch screen
           25      display” and a “second area of the touch screen display” that “displays” both the “current character
           26      string” and “suggested replacement character string[s]”. The claims then describe whether the
           27      current character string is kept or replaced “in the first area” of the display in response to certain user
           28      actions.

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               1           379.    Consistently, and as noted above, because the claim language refers to what is shown

               2   on the screen, whether a device infringes Claim 18 of the ’172 Patent can be determined by looking at

               3   how the device behaves from a user’s perspective. Indeed, the ’172 Patent does not ask how or

               4   where the data underlying the current character string, or suggested replacement character string is

               5   stored in memory; an infringement analysis for the ’172 Patent need only ask what is shown on the

               6   screen of a portable device while the user is interacting with the device’s touch screen.

               7           3.      Claim Analysis

               8           380.    I have been informed and understand that the Court has not provided any constructions

               9   relevant to the ’172 Patent. I have interpreted Claim 18 of the ’172 Patent from the perspective of

           10      one of ordinary skill in the art.

           11              4.      Accused Devices

           12              381.    I understand that Apple accuses the following devices of infringing Claim 18 of the

           13      ’172 Patent:

           14              •    Admire

           15              •    Captivate Glide

           16              •    Conquer 4G

           17              •    Exhibit II 4G

           18              •    Galaxy Nexus

           19              •    Galaxy Note (excluding I717UCMD3 release)

           20              •    Galaxy SII (excluding T989UVMC6 release)

           21              •    Galaxy SII Epic 4G Touch (excluding GB27 release)

           22              •    Galaxy SII Skyrocket (excluding I727UCMC1 release)

           23              •    Stratosphere

           24              •    Transform Ultra

           25      (collectively, “’172 Patent Accused Devices”). Unless otherwise noted in the list provided above,

           26      reference to a particular device in this section of my report (Section IX.B) encompasses all OS’s

           27      running on the Android platform, maintenance releases, and carriers for that device. This also applies

           28      to the infringement charts related to the ’172 Patent, which are attached as Exhibits 4-1 to 4-11.

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               1             5.     Summary of Infringement Opinions

               2             382.   If I am called as an expert witness, I expect to testify regarding general background

               3   and technical matters relating to the subject matter of the ’172 Patent and its claims, including the

               4   operation of graphical user interfaces and the field of human-computer interaction. I further expect to

               5   testify regarding matters pertaining to Samsung’s infringement of the ’172 Patent. I have been asked

               6   to analyze the ’172 Patent and the ’172 Patent Accused Devices and provide technical teaching and

               7   opinions regarding that Patent.

               8             383.   The explanation of my opinion regarding infringement of Claim 18 of the ’172 Patent

               9   includes the claim charts attached hereto as Exhibits 4-1 to 4-11. These Exhibits are intended to be

           10      exemplary and not exhaustive. The discussion below concerning infringement is meant to be read

           11      together with the material in Exhibits 4-1 to 4-11. I also incorporate by reference Karan Singh’s

           12      declaration in support of Apple’s Motion for a Preliminary Injunction (Dkt. No. 15) and the exhibits

           13      thereto, as well as Karan Singh’s reply declaration in support of Apple’s Motion for a Preliminary

           14      Injunction (Dkt. No. 180) and the exhibits thereto.

           15                384.   It is my opinion that the ’172 Patent Accused Devices infringe Claim 18 of the ’172

           16      Patent.

           17                385.   In performing this analysis, I reviewed the ’172 Patent and its file history, operated

           18      each of the accused devices, and reviewed material related to the accused devices.

           19                386.   Based on my operation of each of the accused devices and my review of 1) various

           20      documents produced by Apple, Google and other third-parties; 2) source code provided by Samsung

           21      and Google; 3) publicly available material from various websites; and 4) Samsung’s Responses to

           22      Apple’s Interrogatories, I conclude that each ’172 Patent Accused Device implements the accused

           23      functionality in the same way for purposes of my analysis, via either the Android keyboard or the

           24      Swype keyboard. For those devices that came preinstalled with the Android keyboard, I performed

           25      my infringement analysis using the Android keyboard. For those devices that did not come

           26      preinstalled with the Android keyboard, but did come preinstalled with the Swype keyboard, I

           27      performed my infringement analysis using the Swype keyboard (i.e., for certain products including

           28      the Galaxy S II (T-Mobile), Galaxy SII Epic 4G Touch, and Exhibit II 4G). However, for purposes

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               1   of analyzing whether the product infringes Claim 18 of the ’172 patent, it is irrelevant as to whether

               2   the Android or the Swype keyboard is used, as both function in exactly the same way for purposes of

               3   the infringement analysis.

               4           387.    In particular, every ’172 Patent Accused Device includes a first area of the display that

               5   displays the current character string being input by the user. Every ’172 Patent Accused Device also

               6   includes a second area of the display that displays the current character string and suggested

               7   replacement character strings. In every ’172 Patent Accused Device, the first area is located above

               8   the second area. The second area is located just above the keyboard. In every ’172 Patent Accused

               9   Device, if the user selects a delimiter, a suggested replacement character string displayed in the

           10      second area replaces the current character string displayed in the first area. In every ’172 Patent

           11      Accused Device, if the user gestures on a suggested replacement character string displayed in the

           12      second area, that suggested replacement character string replaces the current character string

           13      displayed in the first area. Finally, in every ’172 Patent Accused Device, if the user gestures on the

           14      current character string displayed in the second area, the current character string displayed in the first

           15      area is kept in the first area.

           16              388.    For brevity’s sake, and because the accused functionality is substantially the same for

           17      every ’172 Patent Accused Device, regardless of whether the device includes the Android and/or

           18      Swype keyboard, I provide a detailed, element-by-element analysis of only three devices in the body

           19      of this report: the Samsung Galaxy S II Epic 4G Touch (“Epic 4G”), the Samsung Stratosphere

           20      (“Stratosphere”), and the Samsung Galaxy Nexus. However, because the other ’172 Patent Accused

           21      Devices operate in substantially the same way, my analysis of any of these three products apply to all

           22      the other devices as well.

           23              6.      Infringement of Claim 18

           24              389.    I conclude that each and every ’172 Patent Accused Device literally satisfies every

           25      limitation of Claim 18 of the ’172 Patent. The reasons for my conclusions include the reasons stated

           26      in the infringement charts attached as Exhibits 4-1 to 4-11 to this report, and are incorporated herein.

           27      My element-by-element analysis is further provided below.

           28

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               1                  i.     A graphical user interface on a portable electronic device with a keyboard
                                         and a touch screen display, comprising:
               2
                          390.    To the extent that the preamble may be construed to be limiting, each and every one of
               3
                   the ’172 Patent Accused Devices are portable electronic devices—namely, smartphones—that
               4
                   include a touch screen, a graphical user interface, and a keyboard.
               5
                   Epic 4G
               6
                          391.    The Epic 4G is a portable electronic device. For example, the Epic 4G is 5.11” x
               7
                   2.74” x 0.38”, has a CPU, memory, camera, touch screen display, and battery. APLNDC630-
               8
                   0000160973 (Epic 4G Specifications); APLNDC630-0000160976 (Epic 4G User Manual). I also
               9
                   confirmed via my operation of the Epic 4G that it has a touch screen. As shown in the screenshot
           10
                   below, the Epic 4G also includes a graphical user interface and a keyboard.
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           23                                                    (Epic 4G)
           24      Stratosphere
           25             392.    The Stratosphere is a portable electronic device. For example, the Stratosphere is
           26      4.96” x 2.54” x 0.55”, has a CPU, memory, a touch screen display, and a battery. APLNDC630-
           27      0000162108 (Stratosphere Specifications); APLNDC630-0000162110 (Stratosphere User Manual). I
           28

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               1   also confirmed via my operation of the Stratosphere that it has a touch screen. As shown in the

               2   screenshot below, the Stratosphere also includes a graphical user interface and a keyboard.

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                                                               (Stratosphere)
           14
                   Galaxy Nexus
           15
                          393.    The Galaxy Nexus is a portable electronic device, as reflected by its size. The Verizon
           16
                   and Sprint versions of the Galaxy Nexus are 5.33” x 2.67” x 0.37” and each has a CPU, memory, a
           17
                   touch screen display, and a battery. APLNDC630-0000160368 (Verizon Galaxy Nexus
           18
                   Specifications); APLNDC630-0000160354 (Sprint Galaxy Nexus Specifications); APLNDC630-
           19
                   0000171537 (Galaxy Nexus User Manual). Similarly, the unlocked version of the Galaxy Nexus is
           20
                   portable in size and also has a CPU, memory, and battery. APLNDC630-0000160391 (Unlocked
           21
                   Galaxy Nexus Specifications). I also confirmed via my operation of the Verizon, Sprint, and
           22
                   Unlocked Galaxy Nexus devices that each has a touch screen.
           23
                          394.    As shown in the screenshot below, which comes from the Verizon Galaxy Nexus, the
           24
                   Galaxy Nexus also includes a graphical user interface and a keyboard.
           25

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                                                                    (Galaxy Nexus)
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                          395.    All of the screenshots of the Galaxy Nexus in this report are taken from a Verizon
           14
                   Galaxy Nexus. As I noted previously, the accused functionality is identical on the Sprint and
           15
                   Unlocked versions of the Galaxy Nexus.
           16
                          396.    I understand that Samsung contends that the ’172 Patent Accused Products do not
           17
                   satisfy the preamble of Claim 18 because the devices do not have a keyboard that is separate from the
           18
                   touch screen display. Samsung’s Further Supplemental Responses to Apple’s First, Third, And Tenth
           19
                   Sets of Interrogatories at 145. I disagree. As specifically contemplated by the ’172 Patent, the
           20
                   keyboard can be a soft keyboard displayed on the touch screen display. See ’172 Patent, 4:11-12.
           21
                   For example, the ’172 Patent speaks of “trays,” which are defined as “defined region[s] or area[s]
           22
                   within a graphical user interface.” Id. at 7:10-13. “One tray may include a user entry interface, such
           23
                   as a virtual or soft keyboard 210 that includes a plurality of icons.” Id. at 7:13-15; see also id. at 7:64
           24
                   (referring to “a keyboard 210”, which refers to the same soft keyboard mentioned in 7:13-15); 9:6
           25
                   (referring to text “entered by the user via a keyboard 210”, which also refers to the same soft
           26
                   keyboard mentioned in 7:13-15). Because the keyboard can be a soft keyboard displayed on the
           27
                   touch screen display, the ’172 Patent Accused Products satisfy the preamble of Claim 18.
           28

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               1                  ii.     a first area of the touch screen display that displays a current character
                                          string being input by a user with the keyboard; and
               2
                          397.    All of the ’172 Patent Accused Devices include a first area of the touch screen display
               3
                   that displays a current character string being input by a user with the keyboard. Based on my
               4
                   inspection and analysis of the ’172 Patent Accused Devices and related documents, each such device
               5
                   has a text display area (“first area”) that includes the current character string. The current character
               6
                   string is the text currently being input by the user.
               7
                   Epic 4G
               8
                          398.    The figure below displays the Epic 4G messaging application. In this screenshot,
               9
                   which displays the Android keyboard, the user has entered “This is a new” and is entering the current
           10
                   character string “messaf” in the first area.
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                             (Epic 4G screenshot. The text area displays “This is a new messaf”, where “messaf” is the
           22
                                                         current character string.)
           23             399.    Based on the above, I conclude that the Epic 4G meets this element of Claim 18 of the
           24      ’172 Patent.
           25      Stratosphere
           26             400.    The figure below displays the Stratosphere messaging application. In this screenshot,
           27      which displays the Android keyboard, the user has entered “This is a new” and is entering the current
           28      character string “messaf” in the first area.

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                            (Stratosphere screenshot. The text area displays “This is a new messaf”, where “messaf” is
           11                                          the current character string.)
           12             401.    Based on the above, I conclude that the Stratosphere meets this element of Claim 18 of
           13      the ’172 Patent.
           14      Galaxy Nexus
           15             402.    The figure below displays the Galaxy Nexus messaging application. In this
           16      screenshot, which displays the Android keyboard, the user has entered “This is a new” and is entering
           17      the current character string “messaf” in the first area.
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                     (Galaxy Nexus screenshot. The text area displays “This is a new messaf”, where “messaf” is the
           14                                          current character string.)
           15             403.    Based on the above, I conclude that the Galaxy Nexus meets this element of Claim 18
           16      of the ’172 Patent.
           17                     iii.    a second area of the touch screen display separate from the first area that
                                          displays the current character string or a portion thereof and a suggested
           18                             replacement character string for the current character string; wherein;
           19             404.    All of the ’172 Patent Accused Devices include a second area of the touch screen
           20      display separate from the first area that displays the current character string or a portion thereof and a
           21      suggested replacement character string for the current character string. Based on my inspection and
           22      analysis of the ’172 Patent Accused Devices and related documents, each such device displays the
           23      current character string in a second area—the area of the touch screen between the text display area
           24      and the keyboard. The second area also includes a suggested replacement character string or strings
           25      for the current character string.
           26      Epic 4G
           27             405.    The figure below displays the Epic 4G messaging application. In this screenshot,
           28      which displays the Swype keyboard, the current character string being input by the user is “messaf”.

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               1   “messaf” is displayed in a second area—the area of the touch screen between the first area and

               2   keyboard that displays “messaf” in the far left. In addition to displaying the current character string,

               3   the second area also displays suggested replacement character strings for the current character string.

               4   In the screenshot below, the suggested replacement character strings include “message” and

               5   “messages”.

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           16
                      (Epic 4G screenshot showing the current character string “messaf” in a second area of the touch
           17          screen display, which also displays the suggested replacement character strings for the current
                                                character string “message” and “messages”)
           18
                          406.    Based on the above, I conclude that the Epic 4G meets this element of Claim 18 of the
           19
                   ’172 Patent.
           20
                   Stratosphere
           21
                          407.    The figure below displays the Stratosphere messaging application. In this screenshot,
           22
                   which displays the Android keyboard, the current character string being input by the user is “messaf”.
           23
                   “messaf” is displayed in a second area—the area of the touch screen between the first area and
           24
                   keyboard that displays “messaf” in the far left. In addition to displaying the current character string,
           25
                   the second area also displays suggested replacement character strings for the current character string.
           26
                   In the screenshot below, the suggested replacement character strings include “message” and
           27
                   “messages”.
           28

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                   (Stratosphere screenshot showing the current character string “messaf” in a second area of the touch
           11         screen display, which also displays the suggested replacement character strings for the current
                                               character string “message” and “messages”)
           12
                          408.    Based on the above, I conclude that the Stratosphere meets this element of Claim 18 of
           13
                   the ’172 Patent.
           14
                   Galaxy Nexus
           15
                          409.    The figure below displays the Galaxy Nexus messaging application. In this
           16
                   screenshot, which displays the Android keyboard, the current character string being input by the user
           17
                   is “messaf”. “messaf” is displayed in a second area—the area of the touch screen between the first
           18
                   area and keyboard that displays “messaf” in the far left. In addition to displaying the current
           19
                   character string, the second area also displays suggested replacement character strings for the current
           20
                   character string. In the screenshot below, the suggested replacement character strings include
           21
                   “message” and “messages”.
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                   (Galaxy Nexus screenshot showing the current character string “messaf” in a second area of the touch
           12         screen display, which also displays the suggested replacement character strings for the current
                                               character string “message” and “messages”)
           13
                           410.    Based on the above, I conclude that the Galaxy Nexus meets this element of Claim 18
           14
                   of the ’172 Patent.
           15
                                   iv.     the current character string in the first area is replaced with the suggested
           16                              replacement character string if the user activates a key on the keyboard
                                           associated with a delimiter;
           17
                           411.    All of the ’172 Patent Accused Devices include the functionality of replacing the
           18
                   current character string in the first area with the suggested replacement character string if the user
           19
                   activates a key on the keyboard associated with a delimiter. Based on my inspection and analysis of
           20
                   the ’172 Patent Accused Devices and related documents, each such device displays previously-
           21
                   entered text and the current character string in a first area, and a second area separate from the first
           22
                   area, which displays the current character string as well as a suggested replacement character string
           23
                   or strings for the current character string. When the user selects a delimiter on the keyboard, such as
           24
                   a period, question mark, or the spacebar, the suggested replacement character string replaces the
           25
                   current character string in the first area.
           26
                   Epic 4G
           27
                           412.    The screenshot on the left below depicts the Epic 4G display before the user selects a
           28
                   delimiter on the keyboard after inputting the current character string “messaf” in the messaging

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               1   application. The screenshot to the right below depicts the Epic 4G display after the user selects a

               2   delimiter on the keyboard after inputting the current character string “messaf” in the messaging

               3   application. As the screenshots below show, after the user selects a delimiter—in the screenshots

               4   below, the spacebar—the current character string “messaf” displayed in the first area is replaced with

               5   the suggested replacement character string “message”.

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                                      (Epic 4G screenshots showing the display after the user selects a
           17                                           delimiter on the keyboard)
           18             413.    Based on the above, I conclude that the Epic 4G meets this element of Claim 18 of the
           19      ’172 Patent.
           20      Stratosphere
           21             414.    The screenshot on the left below depicts the Stratosphere display before the user
           22      selects a delimiter on the keyboard after inputting the current character string “messaf” in the
           23      messaging application. The screenshot to the right below depicts the Stratosphere display after the
           24      user selects a delimiter on the keyboard after inputting the current character string “messaf” in the
           25      messaging application. As the screenshots below show, after the user selects a delimiter—in the
           26      screenshots below, the spacebar—the current character string “messaf” displayed in the first area is
           27      replaced with the suggested replacement character string “message”.
           28

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                                      (Stratosphere screenshots showing the display after the user selects a
           11                                              delimiter on the keyboard)
           12             415.    Based on the above, I conclude that the Stratosphere meets this element of Claim 18 of
           13      the ’172 Patent.
           14      Galaxy Nexus
           15             416.    The screenshot on the left below depicts the Galaxy Nexus display before the user
           16      selects a delimiter on the keyboard after inputting the current character string “messaf” in the
           17      messaging application. The screenshot to the right below depicts the Galaxy Nexus display after the
           18      user selects a delimiter on the keyboard after inputting the current character string “messaf” in the
           19      messaging application. As the screenshots below show, after the user selects a delimiter—in the
           20      screenshots below, the spacebar—the current character string “messaf” displayed in the first area is
           21      replaced with the suggested replacement character string “message”.
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           12                      (Galaxy Nexus screenshots showing the display after the user selects a
           13                                          delimiter on the keyboard)
                           417.    Based on the above, I conclude that the Galaxy Nexus meets this element of Claim 18
           14
                   of the ’172 Patent.
           15

           16                      v.      the current character string in the first area is replaced with the suggested
                                           replacement character string if the user performs a gesture on the
           17                              suggested replacement character string in the second area; and
                           418.    All of the ’172 Patent Accused Devices include the functionality of replacing the
           18
                   current character string in the first area with the suggested replacement character string if the user
           19
                   performs a gesture on the suggested replacement character string in the second area. Based on my
           20
                   inspection and analysis of the ’172 Patent Accused Devices and related documents, each such device
           21
                   displays previously-entered text and the current character string in a first area, and a second area
           22
                   separate from the first area, which displays the current character string as well as a suggested
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                   replacement character string or strings for the current character string. When the user performs a
           24
                   gesture on the suggested replacement character string in the second area, the suggested replacement
           25
                   character string replaces the current character string in the first area.
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               1   Epic 4G

               2          419.      The screenshot on the left below depicts the Epic 4G display after the user inputs the

               3   current character string “messaf” in the messaging application. The screenshot on the right depicts

               4   the Epic 4G display after the user taps on the suggested replacement character string “message”

               5   displayed in the second area of the touch screen display. As the screenshots below show, after the

               6   user taps (i.e., performs a gesture) on the suggested replacement character string “message” displayed

               7   in the second area, the current character string “messaf” displayed in the first area is replaced with the

               8   suggested replacement character string “message”.

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                                  (Epic 4G screenshots showing the display before and after the user taps on a
           20                         suggested replacement character string displayed in the second area)
           21             420.      Based on the above, I conclude that the Epic 4G meets this element of Claim 18 of the
           22      ’172 Patent.
           23      Stratosphere
           24             421.      The screenshot on the left below depicts the Stratosphere display after the user inputs
           25      the current character string “messaf” in the messaging application. The screenshot on the right
           26      depicts the Stratosphere display after the user taps on the suggested replacement character string
           27      “message” displayed in the second area of the touch screen display. As the screenshots below show,
           28      after the user taps (i.e., performs a gesture) on the suggested replacement character string “message”

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               1   displayed in the second area, the current character string “messaf” displayed in the first area is

               2   replaced with the suggested replacement character string “message”.

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                              (Stratosphere screenshots showing the display before and after the user taps on a
           13                       suggested replacement character string displayed in the second area)

           14             422.    Based on the above, I conclude that the Stratosphere meets this element of Claim 18 of

           15      the ’172 Patent.

           16      Galaxy Nexus

           17             423.    The screenshot on the left below depicts the Galaxy Nexus display after the user

           18      inputs the current character string “messaf” in the messaging application. The screenshot on the right

           19      depicts the Galaxy Nexus display after the user taps on the suggested replacement character string

           20      “message” displayed in the second area of the touch screen display. As the screenshots below show,

           21      after the user taps (i.e., performs a gesture) on the suggested replacement character string “message”

           22      displayed in the second area, the current character string “messaf” displayed in the first area is

           23      replaced with the suggested replacement character string “message”.

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           12                (Galaxy Nexus screenshots showing the display before and after the user taps on a
           13                      suggested replacement character string displayed in the second area)
                          424.    Based on the above, I conclude that the Galaxy Nexus meets this element of Claim 18
           14
                   of the ’172 Patent.
           15

           16                     vi.     the current character string in the first area is kept if the user performs a
                                          gesture in the second area on the current character string or the portion
           17                             thereof displayed in the second area
                          425.    All of the ’172 Patent Accused Devices include the functionality of keeping the
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                   current character string in the first area if the user performs a gesture on the current character string
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                   displayed in the second area. Based on my inspection and analysis of the ’172 Patent Accused
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                   Devices and related documents, each such device displays previously-entered text and the current
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                   character string in a first area, and a second area separate from the first area, which displays the
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                   current character string as well as a suggested replacement character string or strings for the current
           23
                   character string. When the user performs a gesture on the current character string in the second area,
           24
                   the current character string is kept—i.e., remains displayed—in the first area.
           25
                   Epic 4G
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                          426.    The screenshot on the left below depicts the Epic 4G display after the user inputs the
           27
                   current character string “messaf” in the messaging application. The screenshot on the right depicts
           28

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               1   the Epic 4G display after the user taps on the current character string “messaf” displayed in the

               2   second area of the touch screen display. As the screenshots below show, after the user taps (i.e.,

               3   performs a gesture) on the current character string “messaf” displayed in the second area, the current

               4   character string “messaf” displayed in the first area is kept.

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                                 (Epic 4G screenshots showing the display before and after the user taps on the
           16                                current character string displayed in the second area)
           17             427.      Based on the above, I conclude that the Epic 4G meets this element of Claim 18 of the
           18      ’172 Patent.
           19      Stratosphere
           20             428.      The screenshot on the left below depicts the Stratosphere display after the user inputs
           21      the current character string “messaf” in the messaging application. The screenshot on the right
           22      depicts the Stratosphere display after the user taps on the current character string “messaf” displayed
           23      in the second area of the touch screen display. As the screenshots below show, after the user taps
           24      (i.e., performs a gesture) on the current character string “messaf” displayed in the second area, the
           25      current character string “messaf” displayed in the first area is kept.
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                             (Stratosphere screenshots showing the display before and after the user taps on the
           11                               current character string displayed in the second area)
           12             429.    Based on the above, I conclude that the Stratosphere meets this element of Claim 18 of
           13      the ’172 Patent.
           14      Galaxy Nexus
           15             430.    The screenshot on the left below depicts the Galaxy Nexus display after the user
           16      inputs the current character string “messaf” in the messaging application. The screenshot on the right
           17      depicts the Galaxy Nexus display after the user taps on the current character string “messaf”
           18      displayed in the second area of the touch screen display. As the screenshots below show, after the
           19      user taps (i.e., performs a gesture) on the current character string “messaf” displayed in the second
           20      area, the current character string “messaf” displayed in the first area is kept.
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           12               (Galaxy Nexus screenshots showing the display before and after the user taps on the
           13                             current character string displayed in the second area)
                          431.    Based on the above, I conclude that the Galaxy Nexus meets this element of Claim 18
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                   of the ’172 Patent.
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                          432.    I understand that Samsung argues that the ’172 Patent Accused Devices do not satisfy
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                   this element of Claim 18 because, in both the Android and Swype keyboards, the current character
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                   string is never kept, but is always replaced. Samsung’s Further Supplemental Responses to Apple’s
           18
                   First, Third, and Tenth Sets of Interrogatories at 141-143. Samsung’s argument relies on how the
           19
                   source code implements what is displayed to the user. Id.
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                          433.    I disagree with Samsung. Even assuming that Samsung’s description of how the
           21
                   source code for the Android Keyboard and Swype keyboard are implemented is correct, it is
           22
                   irrelevant to my infringement analysis. As I explained above, the ’172 Patent, including Claim 18,
           23
                   refers to what the user sees on the display of the portable electronic device, not how the source code
           24
                   implements what is displayed. The language of Claim 18 makes this clear. For example, Claim 18
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                   refers to keeping or replacing the current character string in “the first area of the touch screen
           26
                   display,” a clear reference to what is being displayed to the user. Claim 18 also refers to performing
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                   gestures on the current character string or suggested replacement character strings displayed in a
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               1   second area of the touch screen display. Users perform gestures on the character strings displayed to

               2   the user, not on the source code underlying what is displayed. The specification of the ’172 Patent

               3   also makes clear that Claim 18 refers to what is displayed to the user. See, e.g., ’172 Patent, 9:30-38

               4   (“If the user taps on the duplicate 226 of the current character string 222 in the word selection area

               5   216 with a finger 212, . . . the current character string 222 is left as is in the display tray 214. If the

               6   user taps on the suggested replacement 224 in the word selection area 216 with a finger 212, . . . the

               7   current character string 222 is replaced in the display tray 214 by the suggested replacement 224”)

               8   (emphasis added); 7:12-15 (noting that the touch screen display “may display one or more trays” and

               9   defining a display tray as “a defined region or area within a graphical user interface. One tray may

           10      include a user entry interface, such as a virtual or soft keyboard 210 that includes a plurality of

           11      icons.”); 7:40-43 & Figs. 2, 4, 5 (stating that a “display tray” is displayed on the touch screen); 9:55-

           12      63 (“[I]f the user hits . . . a key on the keyboard 210 that is associated with a delimiter, such as a

           13      space bar 227, the current character string 222 in the display tray 214 is replaced by the suggested

           14      replacement 224”) (emphasis added); see also ’172 Patent, 8:4-12; 8:33-37; 8:42-45.

           15              434.    In short, Samsung’s non-infringement argument regarding the operation of the source

           16      code underlying what is displayed to the user is irrelevant to the infringement analysis. Because the

           17      current character string displayed in the first area remains displayed in the first area if the user

           18      gestures on the current character string displayed in the second area, it is my opinion that the ’172

           19      Patent Accused Devices satisfies this element of Claim 18.

           20              435.    Based on the foregoing analysis of ’172 Patent Accused Devices, I conclude that each

           21      ’172 Patent Accused Device meets every element of Claim 18 of the ’172 Patent.

           22              7.      Samsung’s Purported Design-Arounds

           23              436.    I have also been asked to determine whether Samsung’s non-infringing alternatives

           24      infringe the asserted claims of the ’172 Patent. Where the non-infringing alternative does not

           25      infringe the asserted claims, I examine the impact of the proposed design-around on the usability and

           26      convenience of the products from the user’s perspective.

           27              437.    Samsung proposed four non-infringing alternatives for Claim 18 of the ’172 Patent.

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               1   SAMNDCA10123049; SAMNDCA10123122; SAMNDCA630-05935773; SAMNDCA20008688;

               2   GOOG-NDCAL630-00065727; GOOG-NDCAL630-0065560; GOOG-NDCAL630-00065490;

               3   GOOG-NDCAL630-00065439; GOOG-NDCAL630-00065335; GOOG-NDCAL630-00065267;

               4   GOOG-NDCAL630-00065196; GOOG-NDCAL630-00065125; GOOG-NDCAL630-00065054;

               5   GOOG-NDCAL630-00064992; GOOG-NDCAL630-00064995.

               6                                            X.      Compensation

               7          587.    I am being compensated at a rate of NZ$ 575 per hour for my work on this case. My

               8   compensation is no way conditioned on the outcome of this matter.

               9                                              XI.     Conclusion

           10             588.    For the foregoing reasons, it is my opinion that Samsung directly and indirectly

           11      infringes the asserted claims of the ’721, ’172, and ’760 Patents.

           12             589.    I reserve the right to supplement or amend this expert report to the extent additional or

           13      new information comes or is brought to my attention. In addition to explaining the opinions stated

           14      herein, at trial I may testify about my background, qualifications, and experience relevant to the

           15      issues in this action, the technical subject matter of the Asserted Patents, the accused Samsung

           16      products, and the Apple products that practice the claimed inventions, as well as the relevant state of

           17      the technology at the time of the alleged inventions. I may also prepare demonstrative materials that

           18      will aid in my testimony.

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                   Date: August 12, 2013
           22                                                                 Dr. Andrew Cockburn
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